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D. Loren Washburn (#10993)
  lwashburn@smithwashburn.com
SMITH WASHBURN, LLP
8 East Broadway, Suite 320
Salt Lake City, UT 84111
Telephone: (801) 584-1800
Facsimile: (801) 584-1820

Attorneys for Terry C. Diehl

                         IN THE UNITED STATES DISTRICT COURT

                                CENTRAL DISTRICT OF UTAH

 UNITED STATES OF AMERICA,                        NOTICE OF CHANGE OF CONTACT
                                                  INFORMATION
          Plaintiff,

 v.                                               Case No. 2:17-cr-208-CW

 TERRY C. DIEHL,

          Defendant.


         D. Loren Washburn, counsel for Defendant Terry C. Diehl, hereby gives notice of a change

of contact information. Smith Correll, LLP, has changed its name to Smith Washburn, LLP. Mr.

Washburn’s email address is now lwashburn@smithwashburn.com. All other contact information

remains the same.

DATED: July 8, 2018                                  SMITH WASHBURN, LLP

                                                            /s/ D. Loren Washburn
                                                     D. Loren Washburn
                                                     Attorneys for Terry C. Diehl




                                               NOTICE OF CHANGE OF CONTACT INFORMATION
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                             CERTIFICATE OF SERVICE

         I hereby certify that on July 8, 2018, the foregoing NOTICE OF CHANGE OF

CONTACT INFORMATION was served on the person(s) named below via the Court’s

electronic filing system:



    Jared C. Bennett
    jared.bennett@usdoj.gov
    Adam S. Elggren
    adam.elggren@usdoj.gov
    Stewart C. Walz
    Stewart.walz@usdoj.gov
    Assistant United States Attorneys
    UNITED STATES ATTORNEY’S OFFICE
    111 South Main Street, #1800
    Salt Lake City, UT 84111


                                                   /s/ Melina Hernandez




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